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8     on behalf of themselves and
      others similarly situated
9
10                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
11                                 EASTERN DIVISION
12    RAHSHUN TURNER, on behalf of              Case No. 5:16-CV-00355-VAP (DTBx)
13    themselves and all others similarly
      situated,                                 CLASS ACTION
14                Plaintiffs,
15                                              PLAINTIFFS’ NOTICE OF
      v.                                        MOTION AND UNOPPOSED
16                                              MOTION FOR ATTORNEYS’
17    COUNTY OF SAN BERNARDINO,                 FEES AND EXPENSES
              Defendant.
18                                              Date: October 29, 2018
19                                              Time: 2:00 p.m.
                                                Judge: Hon. Virginia A. Phillips
20
21                                              District Court Judge Virginia A.
                                                Phillips
22                                              Magistrate Judge David T. Bristow
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      PLAINTIFFS’ NOTICE OF MOTION AND UNOPPOSED MOTION FOR ATTORNEYS’ FEES AND
      EXPENSES                                            Case No. 5:16-CV-00355-VAP (DTBx)
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1     TO DEFENDANTS AND THEIR COUNSEL OF RECORD:
2           PLEASE TAKE NOTICE THAT Plaintiffs move this Court pursuant to Federal
3     Rule of Civil Procedure 23(h) for an order awarding Plaintiffs’ counsel attorneys’ fees
4     and costs. This unopposed Motion is supported by the record before the Court, the
5     following Memorandum of Points and Authorities, and the accompanying Declaration
6     of Donald Specter (“Specter Decl.”).
7           Plaintiffs respectfully request that the Court set this matter for hearing at the same
8     date and time as the fairness hearing, set for October 29, 2018 at 2:00 p.m. (Doc. # 88).
9
10      Dated: July 17, 2018                 PRISON LAW OFFICE

11
12                                      By:       /s/ Margot Mendelson
                                              MARGOT MENDESON
13                                            DONALD SPECTER
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                                              Attorneys for PLAINTIFFS
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1                      MEMORANDUM OF POINTS AND AUTHORITIES
2     I.     INTRODUCTION
3            Defendants have agreed to pay Plaintiffs’ attorneys’ fees and out-of-pocket
4     expenses in the amount of $350,000. This amount – which reimburses Plaintiffs’
5     counsel for some but not all of their actual hours spent and out-of-pocket expenses – is
6     fair and reasonable in light of the extraordinary results obtained through this litigation,
7     the lengthy and detailed settlement negotiations, and the difficulty and complexity of the
8     issues involved.
9            In this case, Plaintiffs sought to address deficiencies in medical, mental health,
10    and dental care provided to individuals in Defendants’ jails, as well as restrictive
11    housing practices in the jails, disability discrimination faced by individuals in the jails,
12    and the use of force against individuals in the jails. The Consent Decree does just that.
13    It includes a 16-page Remedial Plan that requires Defendant to implement specific
14    policies, procedures, and practices intended to ensure minimally adequate healthcare
15    and to ensure that prisoners with disabilities receive reasonable accommodations. It also
16    includes an extensive use of force policy and detailed policies governing the use of
17    restrictive housing in Defendants’ jails and the provision of reasonable accommodations
18    for individuals with disabilities in the jails.
19           To get to this result, Plaintiffs devoted more than four years to investigating this
20    case, meeting, corresponding with, and interviewing hundreds of prisoners, reviewing
21    and analyzing healthcare and custody records, inspecting the jail facilities, working with
22    three neutral experts, reviewing policies and procedures, and meeting and negotiating
23    with Defendant. The parties expended considerable time and resources negotiating the
24    terms of the Consent Decree and Remedial Plan.
25           The parties have now settled all claims raised in the action. This Court has
26    granted preliminary approval to the Consent Decree. (Doc. # 83.)
27           The Consent Decree provides that “Defendant has agreed to pay Plaintiffs’
28    counsel $350,000 as their reasonable fees and expenses incurred from the date of filing

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1     of the Complaint in this Action through Final Approval of the Consent Decree.”
2     Consent Decree, ¶ 38. The Decree also provides that Defendant will pay Plaintiffs’
3     counsel for their reasonable time and expenses relating to monitoring and enforcing the
4     Consent Decree and Remedial Plan, in an amount not to exceed $150,000 per year. Id.,
5     ¶ 39.
6             Pursuant to Federal Rule of Civil Procedure 23(h), class members must be
7     provided with notice and an opportunity to comment on any motion for fees.
8     Accordingly, Plaintiffs and Defendant have agreed that this Court should order that the
9     instant Motion for Attorneys’ Fees and Expenses be distributed to the class upon their
10    request. Additionally, the parties have agreed that this Motion for Attorneys’ Fees and
11    Expenses should be heard at the same time as the hearing for final approval of the
12    settlement agreement, currently set for October 29, 2018 at 2:00 p.m.
13    II.     ARGUMENT
14            A.    The Parties Have Agreed to an Award of Attorneys’ Fees and Costs.
15            Federal Rule of Civil Procedure 23(h) provides that “[i]n a certified class action,
16    the court may award reasonable attorney’s fees and nontaxable costs that are authorized
17    by law or by the parties’ agreement.” The parties have agreed to an award of fees and
18    costs in this case in the amount of $350,000, which represents a partial recovery of
19    attorney time actually spent and out-of-pocket expenses actually paid by Plaintiffs’
20    counsel in pursuit of this litigation. Specter Decl., ¶¶ 8, 9. Defendants have reviewed
21    this motion, and do not oppose it. Id., ¶ 10.
22            Because the fee agreement does not reduce any recovery by the Class, and
23    because there is no evidence of collusion between Plaintiffs’ counsel and Defendant, the
24    parties’ agreement as to attorneys’ fees “is accorded great weight.” Cox v. Clarus Mktg.
25    Grp., LLC, 291 F.R.D. 473, 482 (S.D. Cal. 2013). The Court’s task in such a situation is
26    “simply to determine whether the negotiated fee is facially fair and reasonable.”
27    Hernandez v. Kovacevich “5” Farms, No. 1:04-cv- 5515, 2005 WL 2435906, at *8
28    (E.D. Cal. Sept. 30, 2005). As explained below, the agreed upon fee is fair and

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1     reasonable, and the Court should enforce the terms of the agreement and award
2     Plaintiffs the agreed-upon sum pursuant to Rule 23(h).
3           B.      The Requested Award Is Fair and Reasonable.
4           Plaintiffs’ request for compensation reasonably reflects the time necessary to
5     manage and litigate this case. To determine the reasonableness of an attorneys’ fee
6     award, the Court considers the following factors: (1) the time and labor required; (2) the
7     novelty and difficulty of the questions; (3) the requisite skill to perform the legal service
8     properly; (4) the preclusion of other employment by the attorney due to acceptance of
9     the case; and (5) whether the fee is fixed or contingent. Graves v. Arpaio, 633 F. Supp.
10    2d 834, 846 (D. Ariz. 2009) (citing Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 70
11    (9th Cir. 1975) and Hensley v. Eckerhart, 461 U.S. 424, 430 n.3 (1983)). Each factor
12    supports Plaintiffs’ request.
13                 1.     Time and labor
14          The fee request reasonably reflects the time and labor required to litigate this
15    matter. This is a complex civil rights class action brought on behalf of nearly six
16    thousand prisoners, raising serious constitutional questions, and resulting in
17    fundamental changes to Defendant’s policies, practices, and procedures. Obtaining this
18    result required review and analysis of numerous jail policies and procedures, interviews
19    of scores of prisoners, jail inspections, detailed expert analyses, and hours of meetings
20    and negotiations. Specter Decl., ¶¶ 5, 6.
21          The agreed-upon fee award was calculated pursuant to the lodestar method; that
22    is, Plaintiffs’ counsel kept contemporaneous time records that detail all work completed,
23    and to calculate the requested award Plaintiffs multiplied the number of hours actually
24    worked (plus those reasonably expected for the fairness hearing and this motion) by a
25    reasonable hourly rate.1 Specter Decl., ¶¶ 7, 8. Though counsel represented the
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27    1 The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e, would limit the
      hourly rates at which Plaintiffs’ counsel can be compensated in connection with certain
28    claims in the Action, while other claims are not subject to such statutory limits. The
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1     Plaintiffs without charge, Plaintiffs’ counsel exercised the same billing judgment and
2     discretion accorded to private clients. Specter Decl., ¶ 7; Gonzalez v. City of Maywood,
3     729 F.3d 1196, 1202 (9th Cir. 2013) (“Ultimately, a ‘reasonable’ number of hours equals
4     ‘[t]he number of hours . . . [which] could reasonably have been billed to a private
5     client.’”) (citations omitted, alterations in original). As such, Plaintiffs have reviewed
6     the billing records and excluded hours that were redundant, excessive, or otherwise
7     unnecessary. Specter Decl. ¶ 7.
8           Courts have long recognized that the lodestar method of calculating fees is
9     strongly presumed to be reasonable. Oviatt v. Pearce, 954 F.2d 1470, 1482 (9th Cir.
10    1992) (“There is a strong presumption that the lodestar figure is reasonable, and
11    adjustments are to be adopted only in exceptional cases.”); Morales v. City of San
12    Rafael, 96 F.3d 359, 363 n.8 (9th Cir. 1996) (accord); Mitchell v. Chavez, No. 113-CV-
13    01324-DAD-EPG, 2018 WL 3218364, at *2 (E.D. Cal. June 29, 2018). The requested
14    fee award fairly reflects the time and labor required to litigate this complex case, and
15    should be approved.
16                 2.     Novelty and difficulty of the questions
17            The requested fee award also fairly reflects the novelty and difficulty of the
18    questions presented. Plaintiffs’ claims presented difficult question of law and fact,
19    including the quality of healthcare required under the Eighth and Fourteenth
20    Amendments, the constitutionality of Defendants’ restrictive housing and use of force
21    practices, and whether Defendant needed to make systemic and programmatic changes
22    to accommodate prisoners with disabilities.
23          Though not all of the legal principles involved in Plaintiffs’ claims were novel,
24    applying them to the class of prisoners in the San Bernardino County jails proved
25    complex. For instance, embedded in these difficult questions is the issue of how
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      parties have agreed on a blended hourly rate to reflect the appropriate rate for the
28    various claims at issue in the case. Consent Decree, ¶ 38; Specter Decl. ¶ 8.
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1     Defendant will meet their obligations under federal law within its budgetary constraints.
2     Plaintiffs’ counsel reasonably expended significant time and resources to address these
3     important issues.
4                  3.     Skill requisite to perform the legal service properly
5           Marshaling evidence on a wide range of complex issues and engaging Defendant
6     in settlement negotiations in a case of substantial magnitude required considerable skill.
7     Plaintiffs’ counsel are highly experienced in trial practice and both civil rights and
8     general litigation. Counsel from the Prison Law Office specialize in the area of
9     prisoners’ rights. Specter Decl., ¶¶ 2, 3; see also Order Granting Motion for Class
10    Certification (Doc. No. 50) at 12.
11          The skill of Plaintiffs’ counsel is apparent in the results they obtained, including
12    certification of the class, negotiating a detailed and comprehensive Remedial Plan, and
13    ultimately obtaining a settlement that provides the class with considerable benefits.
14                 4.     Exclusion of other employment
15          Representing the class required a significant investment of attorney time over
16    more than four years. As a result, the attorneys’ ability to take on other cases was
17    negatively affected. Specter Decl., ¶¶ 4, 5.
18                 5.     Contingency or fixed fee
19          Plaintiffs’ counsel is not charging class members a fee for their services.
20    Counsel’s fee is based purely on the Consent Decree. Specter Decl., ¶ 7.
21                 6.     Out-of-pocket expenses
22          The requested award of costs and fees is also reasonable because Plaintiffs’
23    counsel expended almost $10,000 in out-of-pocket expenses in pursuing this litigation.
24    Specter Decl., ¶ 8. Such expenses “would normally be charged to a fee paying client.”
25    Dang v. Cross, 422 F.3d 800, 814 (9th Cir. 2005).
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1     III.   Conclusion
2            The agreed-upon fee award is fair and reasonable. Accordingly, Plaintiffs’
3     respectfully request that the Court issue an order awarding Plaintiffs $350,000 in fees
4     and costs.
5
6      Dated: July 17, 2018                PRISON LAW OFFICE
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9                                      By:       /s/ Margot Mendelson
                                             MARGOT MENDELSON
10                                           DONALD SPECTER
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                                             Attorneys for PLAINTIFFS
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